. fn in FiLeD

a CEDAR RAPIDS HDOTRS OFFICE

 

 

 

      
  

 

 

 

 

 

AU 245 S (Rev. 4/90) Sheet 1 - Judgment in a Criminal Case NORTHERN DISTRICT OF IOWA
Anited States Dist meee
V2. Sym
I ates District CUE nay 3 ee
NORTHERN District of IOWA °
nas
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On or After November 1, 1987)
DAVID JAMES FULLER Case Number: CR 90-2001
(Name of Defendant) Thomas J. O'Flaherty
Defendant's Attorney
THE DEFENDANT: _
D pleaded guilty to count(s) - - - .
&) was found guilty on count(s) _Le 2+ 6 of the Superseding Indictment after a

plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
21 USC §841(a)(1) Distribution and aiding and abetting the 11-14-1989 1
& 18 usc §2 distribution of approximately 12.40 grams

of a mixture or substance containing a_de-
tectable amount of methamphetamine, a Schedule
II Controlled Substance
21 USC §841(a)(1) Distribution and aiding and abetting the 11-16-1989 2
& 18 USC §2 distribution of approximately 5.92 grams
of a mixture or substance containing a
detectable amount of methamphetamine, a
Schedule II Controlled Substance (Continued on page 2)
The defendant is sentenced as provided in pages 2 through ___6___ of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984..

 

 

 

 

CO The defendant has been found not guilty on count(s) N/A ;
and is discharged as to such count(s).
O) Count(s) N/A (is)(are) dismissed on the motion of the United States.
&) It is ordered that the defendant shall pay a special assessment of $ 150. , for count(s)
, 2, 6 of the Superseding , which shall be due (1 iameaataly & as follows: within 14

days.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.: . -
Defendant's Date of Birth: __ - August 13, 1990

Date of Imposition of Sentence
Defendant's Mailing Address:

—. Signature of Judicial Officer

 

David R. Hansen, U.S. District Judge
‘endant’s Residence Address: Name & Title of Judicial Officer

29,1490
. Date
—Decument 116 Filed 08/21/90 Page 1 of 7
Page 2 of 7

David James Fuller

 

CR 90-2001

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
21 USC §846 Conspiracy to distribute metham- Between about 8-1989 6

phetamine and cocaine, a Schedule & 1-4-1990
II Controlled Substances, to po-

ssess with the intent to distri-~

bute methamphetamine and cocaine,

a Schedule II Controlled Substances,

to attempt to distribute and possess
with the intent to distribute metham-
phetamine and cocaine, a Schedule II
Controlled Substances, to attempt to
manufacture methamphetamine, a Schedule
II Controlled Substance, in amounts totalling
100 grams or more of a mixture or substance
containing a detectable amount of metham-
phetamine and less than 500 grams of a
mixture or substance containing a de-
tectable amount of cocaine, both Schedule

II Controlled Substances.

Case 6:90-cr-02001-LRR Document116 Filed 08/21/90 Page 2 of 7
o a

AO 245 S (Rev. 4/90) Sheet 2 - Imprisonment

 

Defendant: David James Fuller Judgment— Page ___3 _ of __7__
Case Number: CR 90-2001 me
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
atermof ___240 months on each of counts 1 & 2 to be served concurrently and

262 months on count 6 to be served concurrently with the sentences on
counts 1 and 2.

1) The court makes the following recommendations to the Bureau of Prisons:

{XThe defendant is remanded to the custody of the United States marshal.
(4 The defendant shall surrender to the United States marshal for this district,
a.m.

QO) at ______ p.m. on
C as notified by the United States marshal.

(J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
0) before 2 p.m. on
Q) as notified by the United States marshal.
©) as notified by the probation office.

 

 

RETURN

| have executed this judgment as follows:

 

 

 

 

Defendant delivered on to at

- , with a certified copy of this judgment.

 

United States Marshal

Case 6:90-cr-02001-LRR Document 18¢ —Eiled 08/21/90 Page 3 of 7
Deputy Marshal
 

 

AO 245 S (Rev. 4/90) Sheet 3 - Supervised Reease
: wn
Defendant: David James Fuller Judgment—Page __4 ___ of __7 _

Case Number: CR 90-2001
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term’of 5_years._

 

While on supervised release, the defendant shall not commit another federal, state, or local crime and shail not
illegally possess a controlled substance. The defendant shall comply with the standard conditions that have been
adopted by this court (set forth below). If this judgment imposes a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such restitution that remains unpaid at the commencement of the
term of supervised release. The defendant shall comply with the following additional conditions:

O) The defendant shall report in person to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

(J The defendant shall pay any fines that remain unpaid at the commencement of the term of supervised release.

GJ The defendant shall not possess a firearm or destructive device.
1. The defendant is prohibited from incurring any new credit charges or

opening additional lines of credit without the approval of his probation
officer.

2. The defendant shall provide the probation officer access to any requested
financial information.

3. The defendant shall participate in a program approved by the Probation

Office for substance abuse to determine whether or not the defendant has
reverted to the use of drugs or alcohol.

STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit another federal, state or local crime. In addition:

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete written report within
the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer within 72 hours of any change in residence or employment:

7) the defendant shall refrain from excessive use of alcohot and shall not purchase, possess, use, distribute, or administer any narcotic or other controlled
substance, or any paraphernalia related to such substances, except as prescribed by a physician;

8) the defendant shail not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not asscciate with any person convicted of a felony unless
granted permission to do so by the probation officer:

40) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed
in plain view by the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court:

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or personal
history or characteristics, and shall permit the probation officer to make such notifications and to contirm the defendant's compliance with such notification
requirement.

Case 6:90-cr-02001-LRR Document116 Filed 08/21/90 Page 4 of 7
Pm

AO 245 S (Rev. 4/90) Sheet 7 - Statemer "Reasons

 

 

 

Defendant: David James Fuller Judgment—Page 5 of
Case Number: CR 90-2001 —

STATEMENT OF REASONS
Cj The court adopts the factual findings and guideline application in the presentence report.

OR

'X The court adopts the factual findings and guideline application in the presentence report except
(see attachment, if necessary):

Guideline Range Determined by the Court:

 

Total Offense Level: 34

Criminal History Category: VI

Imprisonment Range: _262_ to _327_ months

Supervised Release Range: _._ to ___ years at least 3 years on counts 1 & 2; at least

17,500 175.000 4 years on count 6.
Fine Range: to : wi
ge: $ on all counts included under guideline sentencing.

( Fine is waived or is below the guideline range, because of the defendant's inability to pay.

Restitution: $

L) Full restitution is not ordered for the following reason(s):

h potential for a fine up to $2,000,000

C) The sentence is within the guideline range, that range does not exceed 24 months, and the court finds no

reason to depart from the sentence called for by application of the guidelines.

OR

% The sentence is within the guideline range, that range exceeds 24 months, and the sentence is imposed
for the following reason(s): a sentence at the bottom of the guideline range clearly

vindicates all the objectives of the guideline sentence.

OR

The sentence departs from the guideline range

C upon motion of the government, as a result of defendant's substantial assistance.

C) for the following reason(s):

Case 6:90-cr-02001-LRR Document116 Filed 08/21/90 Page 5 of 7
Page 6 of 7
ATTACHMENT TO JUDGMENT FOR DAVID FULLER - STATEMENT OF REASONS
CR 90-2001

The court determined that the career offender guideline
applied to the defendant. The court also found that the
quantity of controlled substances involved in the conspiracy
count exceeded 100 grams of a mixture or substance containing
a detectable amount of methamphetamine pursuant to 21 U.S.C.

§ 841(b)(1)(B) (viii), which determination meant that the
maximum punishment the defendant faced on the conspiracy count
was 40 years confinement. Accordingly, pursuant to U.S.S.G.

§ 4B1.1(B), the defendant’s Offense Level was determined to be
a Level 34, and his Criminal History Category a Category VI.

Case 6:90-cr-02001-LRR Document116 Filed 08/21/90 Page 6 of 7
AQ 345 S (Rev. 4/90) Sheet S- Fine {

v ——.

7

Defendant: David James Fuller Judgment—Page of

Case Number: CR 90-2001
FINE

The defendant shall pay a fine of $ __________. The fine includes any costs of incarceration and/
or supervision. .

C2 This amount is the total of the fines imposed on individual counts, as follows:

() The court has determined that the defendant does not have the ability to pay interest. It is ordered that:

(© The interest requirement is waived.
() The interest requirement is modified as follows:

This fine plus any interest required shall be paid:

C) in full immediately.

© in full not later than .

(} in equal monthly installments over a period of ______ months. The first payment is due on the
date of this judgment. Subsequent payments are due monthly thereafter.

C) in installments according to the following schedule of payments:

 

APPROVAL AS TO FORM

The undersigned has reviewed the foregoing judgment and it is approved
as to form.

 
 
 
 

 

   

T have is a tring coy. Laat Cee ZT Co
APTS: il" Jo Kans Cterk rStant/United States Attorney
ATTEST: XWilloin J. sane merck
By
anne
. a Deputy Clerk

If the fine is not paid, the court may sentence the defendant to any sentence which might have been
Originally imposed. See 18 U.S.C. § 3614.

Case 6:90-cr-02001-LRR Document116 Filed 08/21/90 Page 7 of 7
